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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                       *
                                               *
                                               *
           v.                                  *           CRIMINAL NO. JFM-04-04
                                               *
DANTE FAULKNER                                *
                                            ******

                                      MEMORANDUM


       Dante Faulkner has filed a motion to modify sentence pursuant to 18 U.S.C. §3582,

alleging that his sentence should be reduced because of a reduction in the Sentencing Guidelines

for crack cocaine.

       Faulkner’s argument falls because he was sentenced under “murder cross-reference” of

the Sentencing Guidelines not because of the amount of crack cocaine involved the conspiracy to

which he pled guilty.

       A separate order denying Faulkner’s motion is being entered herewith.




Date: July 25, 2014                  __/s/______________________
                                     J. Frederick Motz
                                     United States District Judge




                                               1
